                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                               No. 14-CR-2024-LRR
 vs.                                                ORDER REGARDING
                                               MAGISTRATE’S REPORT AND
 AARON D. HOPKINS,                                  RECOMMENDATION
                                                CONCERNING DEFENDANT’S
                 Defendant.                            GUILTY PLEA
                                  ____________________

                        I. INTRODUCTION AND BACKGROUND
         On June 18, 2014, a three-count Indictment was filed against the defendant Aaron
D. Hopkins. On September 5, 2014, the defendant appeared before United States Chief
Magistrate Judge Jon S. Scoles and entered pleas of guilty to Counts 1, 3 and 4 of the
Indictment. On September 5, 2014, Judge Scoles filed a Report and Recommendation in
which he recommended that the defendant’s guilty pleas be accepted. No objections to
Judge Scoles’s Report and Recommendation were filed. The court, therefore, undertakes
the necessary review of Judge Scoles’s recommendation to accept the defendant’s pleas in
this case.
                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the
                findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:

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             The district judge must determine de novo any part of the
             magistrate judge’s disposition that has been properly objected
             to. The district judge may accept, reject, or modify the
             recommended disposition; receive further evidence; or return
             the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
September 5, 2014, and ACCEPTS the defendant’s pleas of guilty in this case to Counts
1, 3 and 4 of the Indictment.
      IT IS SO ORDERED.
      DATED this 22nd day of September, 2014.




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